 Case 24-16370-MEH             Doc 30    Filed 04/17/25 Entered 04/17/25 14:42:00               Desc Main
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 UNITED STATES BANKRUPTCY COURT
 District of New Jersey


 Albert Russo
 Standing Chapter 13 Trustee
                                                                         Order Filed on April 17, 2025
 PO Box 4853                                                             by Clerk
 Trenton, NJ 08650                                                       U.S. Bankruptcy Court
                                                                         District of New Jersey
 (609) 587-6888

 In re:
                                                          Case No.: 24-16370 / MEH

 Adeline M. Rose                                          Chapter: 13

                                                          Hearing Date: 04/16/2025

                                Debtor(s)                 Judge: Mark Edward Hall




   CHAPTER 13 STANDING TRUSTEE PRE-CONFIRMATION ORDER OF DISMISSAL



          The relief set forth on the following page is ORDERED.




DATED: April 17, 2025




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   The Court having determined that dismissal of this case is appropriate, it is hereby


   ORDERED that the debtor's case is dismissed for:

       •   failure to resolve Trustee and/or creditor objection

   and it is further

   ORDERED that:

   Pursuant to 11 U.S.C. § 349(b), this court for cause retains jurisdiction over any application filed within
   14 days of the date of this order by any administrative claimant for funds on hand with the Chapter 13
   Standing Trustee.

   The Chapter 13 Standing Trustee may pay the balance of the standard attorney fees to the debtor's
   counsel in the amount of $3,083.40 from available funds on hand received prior to dismissal.

   Any funds held by the Chapter 13 Standing Trustee from payments made on account of the debtor's
   plan shall be disbursed to the debtor, less any applicable trustee fees and commissions, or any adequate
   protection payments due under the proposed plan, or by Court order.



   Any Order to Employer to Pay the Chapter 13 Trustee that has been entered in this case is vacated,
   and the employer is ordered to cease wage withholding immediately.


   All outstanding fees due to the Court are due and owing and must be paid within 7 days of the date of
   this order.




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